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                                  UMTED STATES I}ISTRICT COURT
                                  NORTIMRN DISTRICT OT' LLINOIS
                                        EASTERN DTVTSION
                                                                       RECEIVED
  Larrag-]/Elbett.D(rN                                                      JAN   IIZ0lgprc_
                                                                         THOMAS G. BRUTON
                                                                       CLERK, U.S. DISTRICT COURT



 @nter above the      full narne
 of the   plaintiff or plaintiffs in
 this action)
                                                    1   :19-cv{lOAzO
                                                c Judge lilarvin E- Aspen
                                                (: Magistrate Judge Sheila      t. Finnegan
                                                    rc7




(Enter above ihe full name of ALL
defendants in this action. Do not
use "et al-r')


CIMCX ONE ONLY:

Z                 goMpLAINT ,NDER TI,E crw,, RrcHTs acr, TrrLE {z
                  U.S. Code (state, county, or municipal defendants)
                                                                              s,crroN   r9B3


                  COMPLAINT I'NIIER TIIE CONSTITUTION (''BIYf,NS'' ACTION), TITLE
                  28 SECTION 1331 U.S. Code (federal defendants)

                  OTITER (cite statute, if known)

BEFOkE FILLING OUT THIS COMPITLINT, PLEASE f.EFER TO ITNST6I1CTIONS
                                                                    FOR
FILING.N FOLLOW THESE INSTNACTIONS CAREFI]LLY.
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        Plaintiff(s):

       A.       Name:

       B.      List alt   aliases: N0 n f
       C.      prisoner identification   number: ?     O,l O t tS O tl tr
       D.      Place of present confinemeat:
                                                                             -
       E.      Address:
                                                                                                           blta
       (Ifthere is more than one plaintifr then each plaintiff must list his or her name, aliases, I.D.
       number, place of confinemen! and current address according to the above format on a
       separate sheet of paper.)

II.    Defendant(r):
       0n A below, place the full name of the first defendant in the first blank, his or her official
       posifion in the second blank, and his or her place of empioyment in the tnirA Ul*t.
                                                                                              Space
       for two additional defendants is provided in B and C.)
                                                               ,




                                                                                        ,fr
      B.      Defendant:




              Place of Employmgnt:                                                         nt          +r--,
                                                                                                    l, '..-,
      C.

              Title:

              Place of Employment:                                                                         ltft
      (If you have more than three defendants, then all additional defendants must be listed
      according to the above format on a separate sheet of paper")




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 ffI.    ListALL Iawsuits you (and your co-plaintiffs, if any) have filed in any state orfederal
         court in the United States:

         A.     Name of case and docket number:



         B.    Approximate dale of filing   lawsuit:                   , 1
         C.    List all plaintiffs (if you had co-plaintiffs), including any aliases:




        D.     List all defendants:




        E.                        hwsuit was filed (iffederal       r'trJnTfe the   aisriq if stare courr
               tr#il#;ilr                                       I
        F.    Name ofjudge to whom case w&s        assigned:        , L ,' fr
        c.    Basic ctaim   made:                         A/ / n

        H..   Disposition of this case (for example: Was the case dismissed? Was it appeated?
              Is it still pending?):




              Approximate date of disposition:


IF YOU HAYE FILED MORE TIIAN ONE L\WSUIT, TIIEN YOU MUST I}ESCRIBE TIIE
ADDTTToNAL LAWSIIITS ON ANOTImR prEcE or pApE& USrNc Trlrs SAME
FORMAT. RECARDLESS OF HOW MANY CASE,S YOU HAYE PREYIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT TIIIS SECTION COMPLETELY;
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE, CO.
PLAINTIIItr'S MUST ALSO LIST ALL CASES TIIEY HAVE FILED.




                                                                                             Revised 92007
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 w.   Statement of Claim:

      State here as  briefly as possible the facts of your case. Describe how each defendant is
      involved, including narnes, dales, and places. Ilo not give any legal arguments or cite any
      cases or slatutes. If you intend to allege a number of related claims, nurnber and set forth
      each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets
      if necessary.)




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v.    Relief:

      State   briefly exactly what you wanl the court to do for you, Make no legal arguments. Cite
      no cases or statutes.




                                                                                                          n   hrhrx)


VI.   The plaintiffdemands rhar the case be tried by     a   jury.   F   yES     trNo
                                                         CERTIPICATION

                              By signing this Complaint,      I certiry that the facts stated in this
                              Complaint are true to the best of my knowtedge, infonmation and
                              belief. I understand that if this certification is not correct, I may be
                              subject to sanctions by the Cout.

                              signedtuu0Q auyofOq ,2oJL


                              (Signature of plaintiff or plaintiffs)




                              (Address)




                                                                                         Revised 9/2007
